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           FORM TO BF TSEB BY PRISGNF-RS IN FILING A COMPL.AINT
                   UNDER THE CrVXL RIGHTS ACT,42 U.S.C, § 1^83
m the UNTTED STATES DBTSICT COURT for tiie SOUTHERN DISTRJ^T
                                                                                   'bruns^vick biv.
                          DMil^N         ^ELLh                                       RFP I 7 PH 12: 01
                                                                                 CLERK
                                                                                SO. DfST. OF dA


(Enter above Ml nsmQ ofplaintiff or plaintiffs)
y.



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             rrox/CTP^
(Enter above Ml name of dsisndaBt or defendants)
1.        Previous lawsuits

          A.        Ha^/e you begun other lawsuits in state or federal court dealing with the same facts
                    involved in this action?                                       Yes         No

                    If your ans^ver to A is yes, describe sach lawsuit in fee space below. (Ifthere is more
                    than one lawsuit, describe fee additionai lawsuits on anofeer piece ofpaper, using the
                    same outilne.)

                    1.     Parties to this previous lawsuit:

                           Plaintiffs:


                           Defendants:



                    2.     Court(iffederal court, name fee district; if state court, name the county):



                    3.     Docket number:

                           Name ofjudge assigned to case:
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           5.    Disposition
                (for example, was the case ■dismissed? appealed? is it still pending?):




            6,      Approximate date of filing lawsuit:

            7.      Aoproxiinats dare of disposition:

                    Were you allowed to proceed in forrna pazipeiis (without prspa3unent of
                    fees)?                                          Yes          No


    B.      "While incarcerated or detained in any feciiity, haYe you brought any lawsints in
            federal court -wiiich. deal with facts other than these invoh/ed in this action?
                                                                           Yes            No

            If your answer to B is yes, describe each la^YSuit in the space beiow. (If there is more
            than one k'wsuit, describe the additioisal lawsuits on another piece of paper, using the
            same outline.)

            1,     Parties to previous law/suit:

                   Plaintiffs:

                   Defendants:



           2.      Court (name the district):



           3.      Docket number:

           4,      Name of judge assigned to case:

           5.      Disposition
                   (for example, was the case dismissed? appealed? is it still pending?):



           6.      Approximate date of filing lawsuit:
                                                2
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               7.    Approidmaie d^eDocument   1-1 Filed 09/17/18 Page 3 of 6
                                     of disposition:

                8.     Were you allowed to proceed informa pcmperis (without prepayment of
                       fees)?                                               Yes          No


         C.    As to any lawsuit filed in federal court t/^/here you were allowed to proceed informa
               pcaperis, was any suit dismissed on the ground that it was fiivolous, malicious, or
               feiled to state a claim?                                      Yes         No


               I.      If your answer to C is yes,name the court and docket number for each case:




n.      Place ofpresent confinement:

        A.     Is there a prisoner grievance procedure in this institutioii? Yes    No

        3.    Did you present the fects relating to your complaint to the appropriate giieyaace
              cominittee?                                                  Yes      No

        C.    If your answer to B is yes;

              1.      What steps did you take?




              2.      What was the result?
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             3-    Did you appeal Document
                                  any adverse1-1  Filed to
                                              decision  09/17/18    Page
                                                           the highest level4 possible
                                                                              of 6     in the
                         admfnfstradve procedure?                              Yes         No

                         If yes, what was the result?




        D-       If you did not utilize the prison grievance procedure, explain why not:




ill-   Parties


                 (In Hem A below,list your name as plaintiff and cuiient address. Provide the name
                 and address ofany additional plaintiffe on an attached sheet)

       A.        Name ofpiainthS:         CUntsltb pln-ev- lAJf>t(.S>                           ■
                 Address:                 rht^4-Ur\^'
                                          ^on^ Ccitrl                TyZi\f-^
                                          SClVJcua^U      PbeoNTc^iCi      31^o

             (In Item B below,list the defendant's full name,position,place ofemployment,and
             current address. Provide the same information for any additional defendants in Item
             C below.)

       B.    Name ofdefendant:            .      W Bll■(-11
             Position:                    C(b\iO{Xf
             Place of employment:                            D6itc^ oie^nt^l-i/^jpA/). I
             Current address:



       C.    Additional     defendants:       *00^
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p/:   StaLemeat of Claim

            State here as briefly as possible the FACTS in your case. Describe how each
            defendant is personally involved in the depriving you of your rights. You must
            include relevant times, dates, places, and names of witnesses. DO NOT GIVE
            LEGAL ARGUMENTS OR CITE ANY CASES OR STATUTES. If you.intend 1x)
            allege a number of related claims, number and set forth each claim in a separate
            paragraph. (Use as much space as you needL Attach extra sheets if necessary.)

                                                  €.0^
    Case Relief
   V.    2:18-cv-00109-LGW-BWC           Document 1-1 Filed 09/17/18 Page 6 of 6
                  Slate briefly exactly wiiat you want the court to do for yea Maice no legal
                  arguments. Cite no cases or statutes.

                                   14-(-(zj. 6l..flol




I declare under penahy ofpeijuiy that the foregoing is tnie and correct

       Signed tins I ^ day of Sgjol-                fQ |i$

Prisoner No.               Sb                 (}l^n%-lo okfiT RJfJb
                                                 (Signaiure ofPlaintifi)
